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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


THE CLEVELAND MUSEUM OF ART,                        )    CASE NO. 1:23-cv-002048-CEF
                                                    )
                       Plaintiff,                   )    JUDGE CHARLES ESQUE FLEMING
                                                    )
       vs.                                          )
                                                    )    PLAINTIFF THE CLEVELAND
ALVIN BRAGG, in his official capacity as the        )    MUSEUM OF ART’S NOTICE OF
District Attorney of New York County, New           )    DISMISSAL WITH PREJUDICE
York,                                               )    PURSUANT TO RULE 41(a)(1)(A)(i)
                                                    )
                       Defendant.                   )


       Plaintiff The Cleveland Museum of Art hereby voluntarily dismisses the captioned matter

with prejudice as to the claims for relief asserted therein, each party to bear its own costs and

attorneys’ fees pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(i).

Dated: February 14, 2025

                                                        Respectfully submitted,

                                                        /s/ Dennis R. Rose
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                                                        Attorneys for Plaintiff


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                                   CERTIFICATE OF SERVICE

       This is to certify that on this 14th day of February, 2025, a true and accurate copy of the

foregoing Plaintiff The Cleveland Museum of Art’s Notice of Dismissal with Prejudice Pursuant

to Rule 41(a)(1)(A)(i) was served via the Court’s CM/ECF filing system and thereby made

available to all registered counsel of record:




                                                      /s/ Dennis R. Rose
                                                      Dennis R. Rose

                                                      One of the Attorneys for Plaintiff




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18426904
